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 12
                         UNITED STATES DISTRICT COURT
 13
                       SOUTHERN DISTRICT OF CALIFORNIA
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 15
    A. TRENT RUARK, individually and              Case No. 3:19-cv-01196-GPC-KSC
 16 on behalf of all others similarly situated,
                                                  JOINT STATUS REPORT RE
 17               Plaintiff,                      SETTLEMENT AGREEMENT
 18         vs.                                   Judge: Hon. Gonzalo P. Curiel
                                                  Date: November 22, 2019
 19 SQUARE, INC., a Delaware                      Crtrm.: 2D
    corporation; Does 1-10,
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                 Defendants.
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                                                               Case No. 3:19-cv-01196-GPC-KSC
                         JOINT STATUS REPORT RE SETTLEMENT AGREEMENT
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  1        Plaintiff A. Trent Ruark and Defendant Square, Inc., hereby submit this Joint
  2 Status Report re Settlement Agreement per the previously-filed Joint Stipulation and
  3 Motion to Vacate Pending Deadlines (Docket No. 30), the Court’s subsequent Order
  4 Granting Joint Motion to Vacate Pending Deadlines (Docket No. 31), and the
  5 parties’ November 15 Status Report (Docket No. 32).
  6        The parties have executed an agreement resolving Plaintiff’s claims in this
  7 action. The parties respectfully request an additional three weeks to perform the
  8 agreement. If the matter is not dismissed by then, the parties shall provide the Court
  9 with a further status update on December 13, 2019.
 10
 11 DATED: November 22, 2019              Respectfully submitted,
 12
                                          MUNGER, TOLLES & OLSON LLP
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 14
 15                                       By:         /s/ Jonathan H. Blavin
                                                JONATHAN H. BLAVIN
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 17
 18                                       Attorneys for DEFENDANT SQUARE, INC.

 19 DATED: November 22, 2019              FINKELSTEIN & KRINSK LLP
 20
 21
                                          By:         /s/ Jeffrey R. Krinsk
 22
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                                          Attorneys for PLAINTIFF A. TRENT RUARK
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                        JOINT STATUS REPORT RE SETTLEMENT AGREEMENT
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  1                           SIGNATURE CERTIFICATION
  2        Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
  3 Policies and Procedures Manual, I hereby certify that the content of this document is
  4 acceptable to Jeffrey Krinsk, counsel for Plaintiff, and that I have obtained Mr.
  5 Krisnk’s authorization to affix his electronic signature to this document.
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  8                                           /s/ Jonathan H. Blavin
                                              Jonathan H. Blavin
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                         JOINT STATUS REPORT RE SETTLEMENT AGREEMENT
